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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
______________________________________X

SUPERB MOTORS INC. et al,

                         Plaintiffs,                           PROPOSED SCHEDULING
                                                               ORDER
-          against-
                                                               Case No. 23-CV-6188 (JMW)
ANTHONY DEO et. al.,

                  Defendants.
______________________________________X

           Upon consent of the parties, it is hereby ORDERED as follows:

           1.     Defendant Libertas Funding LLC ("Libertas") shall serve its papers in support of

its Motion to Dismiss the Amended Complaint as against Libertas on or before February 9, 2024.

           2.     Any opposition to Libertas' Motion to Dismiss shall be served on or before March

1, 2024.

           3.     The reply of Libertas, if any, in further support of its Motion to Dismiss shall be

served on or before March 22, 2024.

           4.     This Scheduling Order may be altered or amended upon a showing of good cause

not foreseeable at the date hereof.


CONSENTED TO BY:

MILMAN LABUDA LAW GROUP PLLC

By:        _______________________________
           Jamie Scott Felsen, Esq.
           Emanuel Kataev, Esq.
           3000 Marcus Avenue Suite 3W8
           Lake Success, NY 11042 516-328-8899
           516-328-0082
           jamiefelsen@mmmlaborlaw.com
           emanuel@mllaborlaw.com


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           Attorneys for Plaintiffs, Superb Motors Inc., Team Auto Sales LLC, Robert Anthony
           Urrutia

CYRULI SHANKS & ZIZMOR LLP

By:        __________________________
           Jeffrey Ruderman, Esq.
           420 Lexington Avenue, Suite 2320
           New York, NY 10170-0002
           (212) 661-6800 (office)
           (347) 379-4622 (direct dial)
           jruderman@cszlaw.com
           Attorneys for Plaintiffs, 1239 Hylan Blvd Auto LLC, 1580 Hylan Blvd Auto LLC, 1581
           Hylan Blvd Auto LLC, 1591 Hylan Blvd Auto LLC, 1632 Hylan Blvd Auto LLC, 189 Sunrise
           Hwy Auto LLC, 2519 Hylan Blvd Auto LLC, 446 Route 23 Auto LLC, 76 Fisk Street Realty
           LLC, Island Auto Management, LLC, Northshore Motor Leasing, LLC, Brian Chabrier,
           Jory Baron, and Joshua Aaronson


By:        __________________________
           Harry R. Thomasson, Jr.
           3280 Sunrise Highway
           Ste Box 112
           Wantagh, NY 11793
           (516)-557-5459
           hrtatty@verizon.net
           Pro Se
           (Formerly) Attorney for Defendants, Anthony Deo, Sarah Deo, Dwight Blankenship, Marc
           Merkling Michael l,aurie ,Car Buyers NYC Inc., Gold Coast Cars of Syosset LLC Gold
           Coast Cars of Sunrise LLC ,Gold Coast Motors Automotive Group LLC Gold Coast Motors
           of LIC LLC Gold Coast Motors of Roslyn LLC, Gold Coast Motors of Smithtown LLC, and
           UEA Premier Motors Corp.


MILBER MAKRIS PLOUSADIS & SEIDEN, LLP

By:        _________________________
           John Anthony Lentinello, Esq.
           Peter Seiden, Esq.
           1000 Woodbury Road, Ste. 402
           Woodbury, NY 11797
           516-712-4000
           516-712-4013
           jlentinello@milbermakris.com
           pseiden@milbermakris.com
           Attorneys for Defendants, Thomas Jones, CPA and Jones, Little & Co., CPA's LLP


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CULLEN AND DYKMAN LLP

By:        ___________________________
           Ariel Ronneburger, Esq.
           Thomas S. Baylis, Esq.
           333 Earle Ovington Boulevard 2nd Floor
           Uniondale, New York 11553 516-357-3700
           516-357-3700
           aronneburger@cullenanddykman.com
           tbaylis@cullenllp.com
           Attorneys for Defendant Flushing Bank


SHERMAN ATLAS SYLVESTER & STAMELMAN LLP

By:        ___________________________
           Anthony C. Valenziano, Esq.
           1185 Avenue of the Americas, 2nd
           Floor New York, New York 10036
           (212) 763-6464
           Attorneys for Defendant JPMorgan Chase Bank, N.A.


WEIR GREENBLATT PIERCE LLP

By:        ___________________________
           Bonnie R. Golub, Esq.
           667 Madison Ave., 5th Fl.
           New York, NY 10065
           (917) 475-8885
           bgolub@wgpllp.com
           Attorneys for Defendant, Libertas Funding LLC



Dated: January ___, 2024
                                              SO ORDERED:


                                              _________________________________
                                              JAMES M. WICKS
                                              United States Magistrate Judge




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